      Case 2:24-cv-12699-MAG-CI ECF No. 1, PageID.1 Filed 10/11/24 Page 1 of 6




                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION


MADELYN ASISI-NAMINI
BORSU ASISI-NAMINI

         Plaintiffs
                                             Case No.
vs.
                                             Hon.
HANSEN PROPERTIES
WAYMO LLC

         Defendants


  MALIN & KUTINSKY PC                      WILSON ELSER MOSKOWITZ
  Brian A. Kutinsky (P39107)                EDELMAN & DICKER LLP
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                                           Attorneys for defendant Waymo


                      DEFENDANT WAYMO LLC’S NOTICE OF
                      REMOVAL PURSUANT TO 28 U.S.C. § 1446


         Defendant Waymo LLC, by and through its attorneys, submits this notice of

removal in accordance with 28 U.S.C. § 1446 and further states as follows:


303150915v.1
     Case 2:24-cv-12699-MAG-CI ECF No. 1, PageID.2 Filed 10/11/24 Page 2 of 6




                                       Background
        1.     On September 11, 2024, plaintiffs Madelyn and Borsu Asisi-Namini,

through their attorneys, filed a personal injury complaint in Oakland County Circuit

Court against defendants Hansen Properties and Waymo LLC. (A copy of the

complaint received by defendant is attached as Exhibit A.)

        2.     In this lawsuit, plaintiffs allege that Madelyn sustained personal injuries

as the result of an alleged slip and fall incident and that Borsu sustained a related

loss of consortium due to his wife’s injuries.

                       Basis for Removal – Diversity Jurisdiction

        3.     A defendant may remove a case from state court to federal court if a

federal court has original jurisdiction over the case. 28 U.S.C. § 1441(a)

        4.     Federal courts have original jurisdiction based on diversity of

citizenship if two requirements are met—the amount in controversy exceeds $75,000

and the dispute arises between citizens of different states. 28 U.S.C. § 1332(a). These

requirements are satisfied here.

        5.     Diversity of citizenship. Diversity of citizenship exists because

plaintiffs are citizens of Michigan and defendants are citizens of different states.

        6.     Plaintiffs are residents and citizens of Michigan. (Ex. A—Complaint, ¶

1)



                                             2

303150915v.1
    Case 2:24-cv-12699-MAG-CI ECF No. 1, PageID.3 Filed 10/11/24 Page 3 of 6




        7.     Defendant Waymo LLC’s citizenship is based on the citizenship of its

members. Akno 1010 Mkt. St. St. Louis Missouri LLC v. Pourtaghi, 43 F.4th 624

(6th Cir. 2002). Waymo LLC has one member—Waymo Holding, Inc. (Ex. B1)

Waymo Holding Inc. is a corporation incorporated in the state of Delaware and has

a principal place of business in Mountain View, California. Waymo Holdings Inc. is

therefore a citizen of Delaware and California. 28 U.S.C. 1332(c)(1). Waymo LLC

is also therefore a citizen of Delaware and California.

        8.     Defendant Hansen Properties is, upon information and belief, a

partnership, and all of its partners are individuals, none of whom are citizens of

Michigan.

        9.     Based on the above, there is complete diversity of citizenship among

the parties based on 28 U.S.C. § 1332(a). Plaintiffs are citizens of Michigan, while

the defendants are citizens of states other than Michigan.

        10.    Amount in controversy. Diversity jurisdiction further exists because

the amount in controversy exceeds $75,000.

        11.    Plaintiffs’ complaint does not allege a specific amount in controversy,

but it requests a judgment in their favor in amount that exceeds $25,000. (Ex. A—

Complaint, ¶ 5)


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  The attached statement refers to the member as Waymo Holdings Inc, but the
correct name is Waymo Holding Inc.
                                       3

303150915v.1
   Case 2:24-cv-12699-MAG-CI ECF No. 1, PageID.4 Filed 10/11/24 Page 4 of 6




        12.    However, plaintiffs also allege that, as a result of the accident, Madelyn

suffered injuries to her neck, back, head, and arm; “will suffer present and future

pain and suffering, mental anguish, loss of enjoyment of life, loss of function, all of

which are permanent in nature”; and has and will incur medical expenses (Ex. A—

Complaint, ¶ 8-10) Plaintiffs further allege that Borsu has “suffered a loss of

companionship, services and conjugal relationships formerly enjoyed with his wife

and that these relationships have been permanently affected,” resulting in a loss of

consortium (Ex. A—Complaint, ¶ 12)

        13.    Given plaintiffs’ alleged injuries and damages, defendant believes that

the amount in controversy exceeds $75,000 exclusive of interest and costs.

        14.    Based on the above, removal of the state court action to this court is

proper under 28 U.S.C. §§ 1332(a)(2) and 1446(b) due to diversity of citizenship of

the parties and an amount in controversy in excess of $75,000 exclusive of interest

and costs.

                                   Procedural Matters

        15.    Removal is timely. This Notice of Removal is timely under 28 U.S.C.

§ 1446(b). Waymo LLC was served with the complaint on September 17, 2024. This

Notice of Removal is therefore timely because it is filed within 30 days after the

defendant received the complaint.


                                            4

303150915v.1
     Case 2:24-cv-12699-MAG-CI ECF No. 1, PageID.5 Filed 10/11/24 Page 5 of 6




        16.    Removal to proper court. A defendant must remove a case “to the

district court of the United States for the district and division embracing the place

where such action is pending.” 28 U.S.C. § 1441(a). Plaintiffs filed their state court

lawsuit in Oakland County, Michigan, which is within the judicial district of this

court. 28 U.S.C. § 102(a)(1).

        19.    Pleadings and process. Defendant has attached a copy of all pleadings

and orders that have been served on Waymo LLC in the state court action as Exhibit

A.

        20.    Service and state court notice. Defendant will promptly serve

plaintiffs with this Notice of Removal and will also promptly file a copy of this

Notice of Removal with the Oakland County Circuit Court as required by 28 U.S.C.

§ 1446(d).

        21.    Consent and other defendants. Upon information and belief,

defendant Hansen Properties has not been served with the complaint at the time

Waymo LLC files this Notice of Removal. Hansen Properties’ consent is therefore

not required to properly remove the case pursuant to 28 U.S.C. § 1446(b)(2)(A)

(requiring the consent of all defendants “who have been properly joined and

served”).

        22.    All the requirements for removal of the state court action to this court

under 28 U.S.C. § 1446 are met, this court’s jurisdiction is established based on
                                      5

303150915v.1
   Case 2:24-cv-12699-MAG-CI ECF No. 1, PageID.6 Filed 10/11/24 Page 6 of 6




diversity of citizenship, and defendant removes this action from Oakland County

Circuit Court to the United States District Court, Eastern District of Michigan.

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                               Certificate of Service

        The undersigned certifies that on October 11, 2024, this document was

electronically filed with the Clerk of the Court using the CM/ECF system. Copies

were also emailed to counsel identified in the caption on the same date.

                                             /s/ Rhoda Haick




                                         6

303150915v.1
